Case 1:10-cr-00212-RDB Document 22r=0Filed- 04 Fel Page 1 of 1
. LOGGED

Cast /O-o2I12 VAN ‘50> j-12-20

AT BALTIMORE
GL ERECT OP MAR US. DISTRICT GOAT

SuPphment, 40 "04 CB 7 9 brim

Un dar re cent C4 S* l/S, i ba able oy +h Crcut

We. 19-6290 Noy 1%. 20/79. Lee wes arrested for

Gan Yrol ton OF SuPer Yi sed (eleG Se, Yenobls Lo fed

Lor peliek un der Lhe Lirst Step Got fre ols fret

Cort Qhenrel him SGYing he ws pot 21,9, ble feces

his Original Sentence (¢ Completed, Ha appegled the

Arsty, ct Court oe ciSian. foe a pheal 5 Court (2 Wer sed

fir district Court pulling Shating Venchle is e/g, bh

for pelie® under Firck Step gach because Super ysed

fe lease iJ pert ot Ais We gins! Sen fence.

PUY CS& £5 GS Same GF Yencble DO

we os Given A Vio Letun oF Super fea fe lacs GS

well GS wp Kaew Sentene., Un ofer the forrk step act

Em entitle f¢ rece ths retro ec hin C7) oys fir my

992) Sentene of SFE puntss, Because fengol wl

Pives be Lick by fhe Courts or fle YY Cincy te fhe. [sof

Shahid £ bod to 90 fi fle CouetS fy pecerer “yf Peat

dome  Creh# Zz PAG We 1 farr hanorghh Court TE

Vbu gw ard me fhe grd Goad H 0g £ Lov lof yw Ly fedite

beciuss Tin et able hur be [furry house Lame A? otely,

fas cv stated > my LO frotun, DO Agu @n Jo$ wot,
i

far me LE prey fart Coert GAA pie G77 kind oh

fact tl pele€.

AS Ryn ly

It

?
6 Peper 7 LLY, f “t.
